                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 1 of 21



                          1   JOHN D. TENNERT III (NSB No. 11728)
                              jtennert@fennemorelaw.com
                          2   FENNEMORE CRAIG P.C.
                              9275 W. Russell Road, Suite 240
                          3   Las Vegas, NV 89148
                              Telephone:    775.788.2212
                          4   Facsimile:    702.692.8099
                          5   ERIC BALL (CSB No. 241327)
                              eball@fenwick.com
                          6   KIMBERLY CULP (CSB No. 238839)
                              kculp@fenwick.com
                          7   FENWICK & WEST LLP
                              801 California Street
                          8   Mountain View, CA 94041
                              Telephone:     650.988.8500
                          9   Facsimile:     650.938.5200
                         10   MOLLY R. MELCHER (CSB No. 272950)
                              mmelcher@fenwick.com
                         11   ANTHONY M. FARES (CSB No. 318065)
                              afares@fenwick.com
                         12   FENWICK & WEST LLP
                              555 California Street, 12th Floor
F ENW ICK & W ES T LLP




                         13   San Francisco, CA 94104
                              Telephone:     415.875.2300
                         14   Facsimile:     415.281.1350
                         15   (California Attorneys will comply with LR IA 11-
                              2 within 14 days)
                         16
                              Attorneys for Plaintiff
                         17   YUGA LABS, INC.
                         18

                         19                                   UNITED STATES DISTRICT COURT

                         20                                       DISTRICT OF NEVADA

                         21

                         22   YUGA LABS, INC.,                              Case No.:

                         23                      Plaintiff,                 COMPLAINT FOR FALSE DESIGNATION
                                                                            OF ORIGIN AND CYBERSQUATTING
                         24          v.
                                                                            DEMAND FOR JURY TRIAL
                         25   RYAN HICKMAN,

                         26                      Defendant.

                         27

                         28


                              COMPLAINT
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 2 of 21



                          1          Plaintiff Yuga Labs, Inc. (“Yuga Labs”) for their Complaint against Ryan Hickman

                          2   (“Hickman” or “Defendant”)) alleges as follows:

                          3                                      NATURE OF THE CASE

                          4          1.     Defendant Ryan Hickman is a central part of a business venture designed to

                          5   explicitly mislead consumers into thinking he and his accomplices’ knockoff non-fungible tokens

                          6   (“NFTs”) are affiliated, sponsored, or associated with Yuga Labs. To further this scam, Hickman

                          7   created and commercialized websites and a smart contract to sell the intentionally misleading

                          8   RR/BAYC NFTs to the average consumer. Hickman and his accomplices used these tools to sell

                          9   NFTs bearing the same images underlying Yuga Labs’ BAYC NFTs and using Yuga Labs’ same

                         10   marks on the same marketplaces Yuga Labs’ NFTs are sold, as well as marketplaces where Yuga

                         11   Labs’ NFTs had not yet been sold. This is textbook trademark infringement and explicitly

                         12   misleading use of Yuga Labs’ marks.
F ENW ICK & W ES T LLP




                         13          2.     Plaintiff Yuga Labs is the creator behind one of the world’s most well-known and

                         14   successful NFT collections, known as the Bored Ape Yacht Club (a.k.a. “BAYC”). There are only

                         15   10,000 BAYC NFTs in existence. The BAYC NFTs have earned significant attention from the

                         16   media for their popularity, including being featured on the cover of Rolling Stone magazine.

                         17          3.     In response to the Bored Ape Yacht Club’s popularity, Ryder Ripps, a non-party to

                         18   this action, started a business venture to sell “RR/BAYC” NFTs, which infringe Yuga Labs’

                         19   trademarks and use the same art that Yuga Labs uses for its BAYC NFTs. Visually, the

                         20   RR/BAYC NFTs are identical to the BAYC NFTs, using the same underlying digital images.

                         21          4.     Ripps enlisted Hickman, as well as other non-parties Jeremy Cahen and Thomas

                         22   Lehman (collectively, “the RR/BAYC Team”), to join his business venture and help him profit off

                         23   of Yuga Labs’ goodwill and trademarks by flooding the NFT market with their intentionally

                         24   misleading copycat NFT collection using the original Bored Ape Yacht Club images and calling

                         25   the NFTs “RR/BAYC” NFTs. Brazenly, the RR/BAYC Team promotes and sells these RR/BAYC

                         26   NFTs using the very same trademarks that Yuga Labs uses to promote and sell authentic Bored

                         27   Ape Yacht Club NFTs (BORED APE YACHT CLUB, BAYC, BORED APE, APE, BA YC Logo,

                         28   BA YC BORED APE YACHT CLUB Logo, and Ape Skull Logo trademarks (the “BAYC


                              COMPLAINT                                       2
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 3 of 21



                          1   Marks”)). They also use the BAYC Marks to promote their coming “Ape Market” NFT

                          2   marketplace (hosted at apemarket.com), which requires a person to purchase one of the infringing

                          3   RR/BAYC NFTs to join Ape Market. Moreover, much of this promotion occurs through the same

                          4   channels, such as Twitter, that Yuga Labs uses to promote its authentic BAYC NFTs. On

                          5   information and belief, Hickman helped Ripps and Cahen promote RR/BAYC NFTs and Ape

                          6   Market on social media, furthering sales of the infringing RR/BAYC NFTs. Hickman’s actions

                          7   are all a deliberate effort to harm Yuga Labs at the expense of consumers by sowing confusion

                          8   about whether these RR/BAYC NFTs and Ape Market are in some way sponsored, affiliated, or

                          9   connected to Yuga Labs’ official Bored Ape Yacht Club, in violation of the Lanham Act.

                         10          5.      Additionally, working with other members of the RR/BAYC Team, Hickman

                         11   developed and coded an “RRBAYC RSVP Contract,” which would allow consumers to “reserve”

                         12   an RR/BAYC NFT. Hickman also developed the “rrbayc.com” website, which implemented the
F ENW ICK & W ES T LLP




                         13   RRBAYC RSVP Contract’s reservation system. And Hickman developed the Ape Market website

                         14   on which the RR/BAYC Team planned to sell RR/BAYC NFTs alongside authentic BAYC NFTs.

                         15          6.      Hickman, motivated by the financial windfall of appropriating Yuga Labs’

                         16   trademarks and the resulting confusion, also actively marketed and promoted the RR/BAYC NFTs.

                         17   His actions were calculated, intentional, and willful with the stated purpose of causing actual and

                         18   monetary harm to Yuga Labs, all of which causes real harm to Yuga Labs’ goodwill. Meanwhile,

                         19   he reaped ill-gotten profit from these sales.

                         20          7.      For these and other reasons, Hickman’s conduct has caused and, unless enjoined,

                         21   will continue to cause damages and irreparable injury to Yuga Labs with an incalculable loss of

                         22   goodwill. Accordingly, Yuga Labs seeks injunctive relief and a disgorgement of Hickman’s

                         23   profits derived from his unlawful conduct.

                         24                                             THE PARTIES

                         25          8.      Plaintiff Yuga Labs, Inc., is a corporation duly organized and existing under the

                         26   laws of the State of Delaware.

                         27          9.      Upon information and belief, Defendant Ryan Hickman is an individual whose

                         28   primary place of residence is in Henderson, Nevada.


                              COMPLAINT                                        3
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 4 of 21



                          1                                     JURISDICTION AND VENUE

                          2           10.     This Court has personal jurisdiction over Hickman because, on information and

                          3   belief, his residence is in the State of Nevada and within this judicial district. Likewise, on

                          4   information and belief, Hickman perpetrates his infringing activities from his Nevada residence.

                          5           11.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1338, and

                          6   1367. Yuga Labs’ claims are, in part, based on violations of the Lanham Act, as amended,

                          7   15 U.S.C. §§ 1051, et seq.

                          8           12.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b). Hickman’s

                          9   primary place of residence is located in this district, and a substantial part of the events and injuries

                         10   giving rise to the claims set forth herein occurred in this district.

                         11                                       FACTUAL BACKGROUND

                         12                                YUGA LABS’ BUSINESS AND MARKS
F ENW ICK & W ES T LLP




                         13           13.     In early 2021, Yuga Labs created, and developed the smart contract behind, the

                         14   Bored Ape Yacht Club, which consists of unique collectible works of digital art (each associated

                         15   with an NFT) when executed on the Ethereum blockchain. Yuga Labs sold licenses for users to

                         16   mint these BAYC NFTs for approximately 0.08 Ethereum each, which amounts to approximately

                         17   $169 to $236 USD, based on the price of Ethereum at the time. Only 10,000 unique BAYC NFTs

                         18   were created as part of this collection.

                         19           14.     Once minted, a Bored Ape NFT confers on its holder certain commercial rights with

                         20   respect to content featured on the NFT (here, digital art).

                         21                        THE BORED APE YACHT CLUB’S RECOGNITION

                         22           15.     Since its launch, Yuga Labs’ Bored Ape Yacht Club has generated massive public

                         23   interest, as reflected in media reports:

                         24                      Rolling Stone Magazine published an issue with Bored Ape NFT art on the

                         25                       cover, accompanied by an article entitled “How Four NFT Novices Created a

                         26                       Billion-Dollar Ecosystem of Cartoon Apes.” The article hailed BAYC as

                         27                       “internet rock stars” and described their rise to fame and fortune. Samantha

                         28                       Hissong, How Four NFT Novices Created a Billion-Dollar Ecosystem of


                              COMPLAINT                                           4
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 5 of 21



                          1                      Cartoon Apes, ROLLING STONE (Nov. 1, 2021),

                          2                      https://www.rollingstone.com/culture/culture-news/bayc-bored-ape-yacht-club-

                          3                      nft-interview-1250461/.

                          4                     CNET hailed BAYC as “the biggest NFT project of [its] kind.” Daniel Van

                          5                      Boom, How Bored Ape Yacht Club NFTs Became $400K Status Symbols, CNET

                          6                      (Apr. 28, 2022), https://www.cnet.com/culture/internet/how-bored-ape-yacht-

                          7                      club-nfts-became-400k-status-symbols/.

                          8                     Wired published an article titled: “How Did the Bored Ape Yacht Club Get So

                          9                      Popular?” Kate Knibbs, How Did the Bored Ape Yacht Club Get So Popular?,

                         10                      WIRED (Feb. 8, 2022), https://www.wired.com/story/celebrity-nfts/.

                         11                     The New York Times called the Bored Ape Yacht Club a “widely-hyped series

                         12                      of digital collectibles” and a “phenomenon.” David Yaffe-Bellany, Thefts,
F ENW ICK & W ES T LLP




                         13                      Fraud and Lawsuits at the World’s Biggest NFT Marketplace, THE NEW YORK

                         14                      TIMES (June 6, 2022), https://www.nytimes.com/2022/06/06/technology/nft-

                         15                      opensea-theft-fraud.html.

                         16          16.     The Bored Ape Yacht Club’s popularity is reflected in the value of BAYC NFTs.

                         17   During a 2021 auction at Sotheby’s, 101 BAYC NFTs were resold for $24.4 million. Samantha

                         18   Hissong, How Four NFT Novices Created a Billion-Dollar Ecosystem of Cartoon Apes, ROLLING

                         19   STONE (Nov. 1, 2021), https://www.rollingstone.com/culture/culture-news/bayc-bored-ape-yacht-

                         20   club-nft-interview-1250461/. A Christie’s auction sold an art collection including four BAYC

                         21   NFTs for $12 million. Id. Individual BAYC NFTs likewise sell for high prices, including one

                         22   that went for $3.4 million. Id. As a result of its success, Yuga Labs was valued at $4 billion in

                         23   March of 2022, and received $450 million in seed funding. Jacob Kastrenakes, Bored Ape Yacht

                         24   Club creator raises $450 million to build an NFT metaverse, THE VERGE (Mar. 22, 2022),

                         25   https://www.theverge.com/2022/3/22/22991272/yuga-labs-seed-funding-a16z-bored-ape-yacht-

                         26   club-bayc-metaverse-other-side.

                         27

                         28


                              COMPLAINT                                        5
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 6 of 21



                          1          17.     Major brands like Adidas, Universal Music Group, and Arizona Iced Tea have

                          2   worked with Bored Ape Yacht Club to create entertainment experiences, and in the case of

                          3   Adidas, virtual and physical clothing.

                          4

                          5

                          6

                          7

                          8

                          9

                         10

                         11

                         12
F ENW ICK & W ES T LLP




                         13

                         14

                         15

                         16
                                                     YUGA LABS’ TRADEMARK APPLICATIONS
                         17                          AND COMMON LAW TRADEMARK RIGHTS

                         18          18.     Yuga Labs has used its BAYC Marks in connection with advertising, marketing,
                         19   and promoting its products and services nationwide and internationally through multiple
                         20   platforms, including but not limited to the Bored Ape Yacht Club website; NFT markets such as
                         21   OpenSea; and social media such as Facebook, Instagram, and Twitter.
                         22          19.     Yuga Labs has pending trademark applications for registration in BORED APE
                         23   YACHT CLUB. The applications were filed on May 27, 2021; September 7, 2021; November 15,
                         24   2021; November 18, 2021; and March 15, 2022. The applications cover the BORED APE YACHT
                         25   CLUB mark for “Digital collectibles in the nature of downloadable multimedia file containing
                         26   digitally-created artwork authenticated by non-fungible tokens (NFTs); digital collectibles in the
                         27   nature of downloadable image files containing artwork, memes, pictures, and trading cards
                         28   authenticated by non-fungible tokens (NFTs);” “Online social networking services;” “providing an

                              COMPLAINT                                        6
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 7 of 21



                          1   online marketplace for buyers and sellers of goods and services; providing an online marketplace

                          2   for buyers and sellers of digital assets, digital tokens, crypto-tokens, utility tokens, non-fungible

                          3   tokens (NFTs), digital collectibles, crypto-collectibles, cryptocurrencies, digital currencies and

                          4   virtual currencies; providing an online marketplace for buyers and sellers of digital goods

                          5   authenticated by non-fungible tokens (NFTs);” “creating an on-line community for registered users

                          6   for the purpose of buying, selling, trading, and discussing and exchanging information about digital

                          7   assets, digital tokens, crypto-tokens, utility tokens, non-fungible tokens (NFTs), digital collectibles,

                          8   crypto-collectibles, cryptocurrencies, digital currencies and virtual currencies;” “downloadable

                          9   image files containing artwork authenticated by non-fungible tokens (NFTs); downloadable

                         10   computer software for managing and conducting electronic transactions in the field of non-fungible

                         11   tokens (NFTs); downloadable image and multimedia files containing digitally-generated artwork

                         12   authenticated by non-fungible tokens (NFTs) utilizing blockchain technology; downloadable digital
F ENW ICK & W ES T LLP




                         13   art images authenticated by non-fungible tokens (NFTs); downloadable computer software for

                         14   managing and conducting electronic transactions in the field of non-fungible tokens (NFTs);

                         15   downloadable image and multimedia files containing digitally-generated artwork authenticated by

                         16   non-fungible tokens (NFTs) utilizing blockchain technology; downloadable digital art images

                         17   authenticated by non-fungible tokens (NFTs);” and “Authentication and validation of data in the

                         18   field of financial and digital transactions authenticated by non-fungible tokens (NFTs) using

                         19   blockchain technology,” among others.

                         20          20.     Yuga Labs has pending trademark applications for registration in BAYC. The

                         21   applications were filed on July 19, 2021; November 15, 2021; November 18, 2021; and March 15,

                         22   2022. The applications cover the BAYC mark for “Digital collectibles in the nature of

                         23   downloadable multimedia file containing digitally-created artwork authenticated by non-fungible

                         24   tokens (NFTs); Digital collectibles in the nature of downloadable image files containing artwork,

                         25   memes, pictures, and trading cards authenticated by non-fungible tokens (NFTs);” “Online social

                         26   networking services;” “providing an online marketplace for buyers and sellers of goods and

                         27   services; providing an online marketplace for buyers and sellers of digital assets, digital tokens,

                         28   crypto-tokens, utility tokens, non-fungible tokens (NFTs), digital collectibles, crypto-collectibles,


                              COMPLAINT                                          7
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 8 of 21



                          1   cryptocurrencies, digital currencies and virtual currencies; providing an online marketplace for

                          2   buyers and sellers of digital goods authenticated by non-fungible tokens (NFTs);” “creating an on-

                          3   line community for registered users for the purpose of buying, selling, trading, and discussing and

                          4   exchanging information about digital assets, digital tokens, crypto-tokens, utility tokens, non-

                          5   fungible tokens (NFTs), digital collectibles, crypto-collectibles, cryptocurrencies, digital currencies

                          6   and virtual currencies;” “Authentication and validation of data in the field of financial and digital

                          7   transactions authenticated by non-fungible tokens (NFTs) using blockchain technology,” among

                          8   others.

                          9             21.   Yuga Labs has pending trademark applications for registration in BORED APE.

                         10   The applications were filed on August 16, 2021; November 15, 2021; and November 18, 2021. The

                         11   applications cover the BORED APE mark for “online social networking services;” “downloadable

                         12   image files containing artwork authenticated by non-fungible tokens (NFTs); downloadable
F ENW ICK & W ES T LLP




                         13   computer software for managing and conducting electronic transactions in the field of non-fungible

                         14   tokens (NFTs); downloadable image and multimedia files containing digitally-generated artwork

                         15   authenticated by non-fungible tokens (NFTs) utilizing blockchain technology; downloadable digital

                         16   art images authenticated by non-fungible tokens (NFTs); downloadable computer software for

                         17   managing and conducting electronic transactions in the field of non-fungible tokens (NFTs);

                         18   downloadable image and multimedia files containing digitally-generated artwork authenticated by

                         19   non-fungible tokens (NFTs) utilizing blockchain technology; downloadable digital art images

                         20   authenticated by non-fungible tokens (NFTs);” and “Authentication and validation of data in the

                         21   field of financial and digital transactions authenticated by non-fungible tokens (NFTs) using

                         22   blockchain technology,” among others.

                         23             22.   Yuga Labs has pending trademark applications for registration in the BA YC Logo.

                         24   The applications were filed on May 27, 2021; September 7, 2021; November 15, 2021; and

                         25   November 18, 2021. The application covers the BA YC Logo mark for “Maintaining and recording

                         26   ownership of art prints comprised of digital illustrations originating from photographs; Maintaining

                         27   and recording ownership of downloadable digital illustrations authenticated by nonfungible tokens;

                         28   Provision of an online marketplace for buyers and sellers of downloadable digital collectibles in the


                              COMPLAINT                                         8
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 9 of 21



                          1   nature of artwork, memes, trading cards, pictures, movie clips, music videos, interviews, books,

                          2   newsletters, magazines, music, podcasts, and soundbites authenticated by non-fungible tokens

                          3   (NFTs);” “downloadable image files containing artwork authenticated by non-fungible tokens

                          4   (NFTs); downloadable computer software for managing and conducting electronic transactions in

                          5   the field of non-fungible tokens (NFTs); downloadable image and multimedia files containing

                          6   digitally-generated artwork authenticated by non-fungible tokens (NFTs) utilizing blockchain

                          7   technology; downloadable digital art images authenticated by non-fungible tokens (NFTs);

                          8   downloadable computer software for managing and conducting electronic transactions in the field

                          9   of non-fungible tokens (NFTs); downloadable image and multimedia files containing digitally-

                         10   generated artwork authenticated by non-fungible tokens (NFTs) utilizing blockchain technology;

                         11   downloadable digital art images authenticated by non-fungible tokens (NFTs);” and

                         12   “Authentication and validation of data in the field of financial and digital transactions authenticated
F ENW ICK & W ES T LLP




                         13   by non-fungible tokens (NFTs) using blockchain technology,” among others.

                         14          23.      Yuga Labs has pending trademark applications for registration in the BA YC

                         15   BORED APE YACHT CLUB Logo. The applications were filed on May 27, 2021; September 7,

                         16   2021; November 15, 2021; and November 18, 2021. The applications cover the BA YC BORED

                         17   APE YACHT CLUB Logo mark for “Maintaining and recording ownership of art prints comprised

                         18   of digital illustrations originating from photographs; Maintaining and recording ownership of

                         19   downloadable digital illustrations authenticated by nonfungible tokens; Provision of an online

                         20   marketplace for buyers and sellers of downloadable digital collectibles in the nature of artwork,

                         21   memes, trading cards, pictures, movie clips, music videos, interviews, books, newsletters,

                         22   magazines, music, podcasts, and soundbites authenticated by non-fungible tokens (NFTs);”

                         23   “downloadable image files containing artwork authenticated by non-fungible tokens (NFTs);

                         24   downloadable computer software for managing and conducting electronic transactions in the field

                         25   of non-fungible tokens (NFTs); downloadable image and multimedia files containing digitally-

                         26   generated artwork authenticated by non-fungible tokens (NFTs) utilizing blockchain technology;

                         27   downloadable digital art images authenticated by non-fungible tokens (NFTs); downloadable digital

                         28   art images authenticated by non-fungible tokens (NFTs); downloadable computer software for


                              COMPLAINT                                         9
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 10 of 21



                          1   managing and conducting electronic transactions in the field of non-fungible tokens (NFTs);

                          2   downloadable image and multimedia files containing digitally-generated artwork authenticated by

                          3   non-fungible tokens (NFTs) utilizing blockchain technology; downloadable digital art images

                          4   authenticated by non-fungible tokens (NFTs);” and “Authentication and validation of data in the

                          5   field of financial and digital transactions authenticated by non-fungible tokens (NFTs) using

                          6   blockchain technology,” among others.

                          7          24.     Yuga Labs has pending trademark applications for registration in the Ape Skull

                          8   Logo. The applications were filed on August 26, 2021; September 7, 2021; November 15, 2021;

                          9   and November 18, 2021. The applications cover the BAYC mark for “Digital collectibles in the

                         10   nature of downloadable multimedia file containing digitally-created artwork authenticated by non-

                         11   fungible tokens (NFTs); Digital collectibles in the nature of downloadable image files containing

                         12   artwork, memes, pictures, and trading cards authenticated by non-fungible tokens (NFTs);” “Online
F ENW ICK & W ES T LLP




                         13   social networking services;” “downloadable image files containing artwork authenticated by non-

                         14   fungible tokens (NFTs); downloadable computer software for managing and conducting electronic

                         15   transactions in the field of non-fungible tokens (NFTs); downloadable image and multimedia files

                         16   containing digitally-generated artwork authenticated by non-fungible tokens (NFTs) utilizing

                         17   blockchain technology; downloadable digital art images authenticated by non-fungible tokens

                         18   (NFTs); downloadable computer software for managing and conducting electronic transactions in

                         19   the field of non-fungible tokens (NFTs); downloadable image and multimedia files containing

                         20   digitally-generated artwork authenticated by non-fungible tokens (NFTs) utilizing blockchain

                         21   technology; downloadable digital art images authenticated by non-fungible tokens (NFTs);” and

                         22   “Authentication and validation of data in the field of financial and digital transactions authenticated

                         23   by non-fungible tokens (NFTs) using blockchain technology,” among others.

                         24          25.     Since at least April 2021, Yuga Labs has used its BAYC Marks. They have been

                         25   used for its logo, website, social media pages, marketing, and in connection with its partnerships,

                         26   products and services. A true and correct copy of examples of their use are attached hereto as

                         27   Exhibit A.

                         28


                              COMPLAINT                                        10
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 11 of 21



                          1          26.     As a consequence of the advertising, promotion, and use of the BAYC Marks with

                          2   Yuga Labs’ BAYC NFTs and other products and services, Yuga Labs has developed recognition

                          3   for its goods and services under the BAYC Marks, and has acquired and enjoys significant goodwill

                          4   and common law rights for the BAYC Marks.

                          5                    HICKMAN’S INFRINGEMENT OF THE BAYC MARKS

                          6          27.     Yuga Labs uses the BAYC Marks on a nationwide and international basis to identify

                          7   its well-known Bored Ape NFT collection. Hickman uses the very same marks to scam consumers

                          8   in promoting his business venture selling the RR/BAYC NFTs, and developing the RRBAYC RSVP

                          9   Contract and rrbayc.com and Ape Market websites.

                         10          28.     On information and belief, Hickman was informed that the RR/BAYC NFTs would

                         11   be confusing to the average consumer and that Ripps’ intent was to explicitly mislead consumers

                         12   by and through the sale of RR/BAYC NFTs. Nonetheless, Hickman continued to explicitly
F ENW ICK & W ES T LLP




                         13   mislead consumers through the promotion, sale, and development of RR/BAYC NFTs and related

                         14   contract and websites.

                         15          A.      Infringement via the RRBAYC RSVP smart contract and rrbayc.com website
                         16          29.     In May 2022, Hickman created the RRBAYC RSVP smart contract and rrbayc.com

                         17   website to support the business venture. Together, this contract and website allowed users to

                         18   “reserve” RR/BAYC NFTs and automated the minting process, making it easier for the RR/BAYC

                         19   Team to place the infringing RR/BAYC NFTs into the stream of commerce.

                         20          30.     Hickman ratified, implemented, and supported the use of Yuga Labs’ marks on this

                         21   smart contract and website to promote and sell the infringing NFTs as part of the RR/BAYC

                         22   business venture. The RRBAYC RSVP smart contract created by Hickman uses Yuga Labs’

                         23   BAYC trademark in the name of the contract (“RRBAYCRSVP”). The rrbayc.com website

                         24   created by Hickman uses Yuga Labs’ BAYC trademark in the title of the page (“RR/BAYC”), in

                         25   the browser tab for the page (“RR/BAYC”), and in the domain for the page (https://rrbayc.com/).

                         26   The website also used Yuga Labs’ Ape Skull Logo mark (right) in the browser tab icon (left

                         27   [image enlarged to show detail]):

                         28


                              COMPLAINT                                       11
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 12 of 21



                          1

                          2

                          3

                          4

                          5

                          6   And the website used Yuga’s “Bored Ape Yacht Club”, “BAYC”, and “Ape” trademarks to refer to
                          7   RR/BAYC NFTs.
                          8            31.   The NFTs depicted on the website also contain BAYC Marks. For example,
                          9   RR/BAYC #362 has the BAYC, BA YC Logo, and the Ape Skull Logo marks on its hat and
                         10   RR/BAYC #863 has the Ape Skull Logo mark on its shirt. Both of these fake NFTs are identical to
                         11   their official BAYC counterparts BAYC #362 and BAYC #863. Indeed, on information and belief,
                         12   this use of identical marks, images, and numbering schemes caused actual confusion, which
F ENW ICK & W ES T LLP




                         13   Hickman was aware of and encouraged. Despite knowing sales of RR/BAYC NFTs through this
                         14   business venture was a scam, he nonetheless implemented the scam using Yuga Labs’ BAYC
                         15   Marks.
                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24            B.    Infringement via NFT marketplaces

                         25            32.   Hickman also ratified, supported, and implemented the business venture’s sales of

                         26   RR/BAYC NFTs on NFT marketplaces such as Foundation and OpenSea. These sales pages for

                         27   the RR/BAYC NFTs were explicitly misleading, using Yuga Labs’ exact same marks to sell the

                         28


                              COMPLAINT                                      12
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 13 of 21



                          1   infringing and identical looking NFTs. For example, the Foundation page was replete with uses of

                          2   the BAYC Marks:

                          3

                          4

                          5

                          6

                          7

                          8

                          9

                         10

                         11

                         12
F ENW ICK & W ES T LLP




                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20          33.    Yuga Labs sold authentic BAYC NFTs on many of these very same marketplaces.

                         21   Indeed, the RR/BAYC NFTs are so similar to Yuga Labs’ BAYC NFTs and actually confusing to

                         22   consumers that OpenSea and other marketplaces repeatedly delisted them in response to

                         23   complaints that they infringed Yuga Labs’ trademarks.

                         24          34.    Despite having knowledge of these takedowns and the RR/BAYC NFTs’ infringing

                         25   content, Hickman promoted the RR/BAYC NFTs by posting on Twitter that they would “re-list[]”

                         26   the infringing RR/BAYC NFTs on OpenSea and deploy Ape Market in order to continue selling

                         27   infringing RR/BAYC NFTs without being delisted and continue to earn profits from fees.

                         28


                              COMPLAINT                                     13
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 14 of 21



                          1   Hickman directly profited (or will if the scam is allowed to continue) from sales of Yuga Labs’

                          2   marks via these NFT marketplaces, despite his awareness and support of their infringing content.

                          3          C.      Infringement via Etherscan
                          4          35.     Likewise, Hickman ratified and supported explicitly misleading uses of Yuga Labs’

                          5   marks on the Etherscan page for the RR/BAYC collection

                          6   (https://etherscan.io/address/0x2EE6AF0dFf3A1CE3F7E3414C 52c 48fd50d73691e), which

                          7   publicly tracks sales and other information for these NFTs. Yuga Labs believes, and therefore

                          8   alleges, that Ripps stole Yuga Labs’ BORED APE YACHT CLUB and BAYC trademarks to

                          9   misleadingly label the token tracker for these RR/BAYC NFTs as “Bored Ape Yacht Club

                         10   (BAYC)” (see bottom right corner of image below). Hickman then developed the reservation

                         11   system to sell RR/BAYC NFTs, and oversaw and controlled their sales, knowing that they bore this

                         12   misleading label.
F ENW ICK & W ES T LLP




                         13

                         14

                         15

                         16

                         17

                         18

                         19          36.     Token trackers are important for validating the authenticity of an NFT. And when

                         20   buyers of the RR/BAYC NFTs review the token tracker and smart contract information for the

                         21   RR/BAYC NFT, they are misled into thinking that these NFTs were officially sold by Yuga Labs.

                         22   Hickman was aware that the use of BAYC Marks to sell RR/BAYC NFTs was confusing to

                         23   average consumers and that the token tracker did not dispel that confusion, yet Hickman decided to

                         24   persist in his development, marketing, and sale of RR/BAYC NFTs to explicitly mislead

                         25   consumers.

                         26          D.      Infringement via Ape Market
                         27          37.     Hickman was also the primary developer and director of Ape Market. Hickman and

                         28   the RR/BAYC Team sought to establish an NFT Marketplace to further their business venture,


                              COMPLAINT                                       14
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 15 of 21



                          1   attempt to compete with other popular NFT Marketplaces, and help them market and sell the

                          2   infringing RR/BAYC NFTs for profit.

                          3           38.    Hickman designed Ape Market to use BAYC Marks to profit off of the goodwill of

                          4   Yuga Labs. He set up Ape Market to require a user to purchase an RR/BAYC NFT to access Ape

                          5   Market. This was intended to encourage further sales and increase the value of their unsold

                          6   RR/BAYC NFTs, resulting in greater profit for the business venture. Ape Market was likewise

                          7   designed to trade RR/BAYC NFTs alongside BAYC NFTs, which use the exact same images and

                          8   incorporate the same marks. On information and belief, Hickman was informed that the design of

                          9   Ape Market could be confusing to consumers, yet Hickman made no effort to change the design to

                         10   prevent consumer confusion. Hickman’s objective was to explicitly mislead these consumers on

                         11   Ape Market.

                         12           39.    The Ape Market website also uses Yuga Labs’ Ape Skull Logo mark in the browser
F ENW ICK & W ES T LLP




                         13   tab icon (left), which is nearly identical to the browser tab icon Yuga Labs uses for its ApeFest

                         14   website (right).

                         15

                         16

                         17   On information and belief, Hickman was aware that it was likely confusing to consumers to offer

                         18   for sale the RR/BAYC NFTs and BAYC NFTs on Ape Market because the two NFT collections

                         19   were visually identical. And yet, he furthered and ratified the sales of knock-off NFTs and the

                         20   use of Yuga Labs’ BAYC Marks to sell the infringing RR/BAYC NFTs.

                         21          E.      Infringement on social media
                         22           40.    Hickman furthered the scam and attempted to reach more consumers by promoting

                         23   it on social media such as Twitter. For example, on information and belief, Hickman participated

                         24   in the creation of material to be used to promote Ape Market on Twitter. This promotional

                         25   material was intentionally designed to look like Yuga Labs’ promotional material in order to

                         26   further confuse consumers into buying RR/BAYC NFTs. On information and belief, he also

                         27   supported and directed payments to influencers to promote RR/BAYC NFTs in order to increase

                         28   profits by building sales volume and hype around RR/BAYC NFTs and Ape Market.


                              COMPLAINT                                        15
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 16 of 21



                          1           41.    As further promotion, Hickman repeatedly gloated about the success RR/BAYC

                          2   NFTs had by trading on Yuga Labs BAYC Marks. For example, he advertised on Twitter, that

                          3   his infringing business venture “flipp[ed]” the real BAYC NFTs in sales rankings on OpenSea.

                          4   And he bragged about how much money he was making from the business venture because “IP in

                          5   NFT is myth,” allowing him to buy luxury watches. Yet, as in any industry, intellectual property

                          6   in the NFT space is not a “myth” and is enforceable to hold scammers like Hickman responsible

                          7   for their infringing conduct.

                          8           42.    Despite Ripps claiming that his use of the images underlying Yuga Labs’ NFTs

                          9   and use of Yuga Labs’ marks is art, Hickman has publicly claimed that NFTs are “NOT art.”

                         10   This contradiction demonstrates that this is nothing more than a flimsy effort to justify his money-

                         11   making scam.

                         12           43.    Hickman did not distinguish his use of Yuga Labs’ BAYC Marks from the
F ENW ICK & W ES T LLP




                         13   identical look, sound, and commercial impression of his and the RR/BAYC Team’s use of these

                         14   marks. His use of Yuga Labs’ BAYC Marks to promote and sell RR/BAYC NFTs is likely to

                         15   cause, and has caused, confusion and has mislead consumers into thinking the RR/BAYC NFTs

                         16   are in some way sponsored, affiliated, or connected with Yuga Labs’ Bored Ape Yacht Club.

                         17   Yuga Labs believes, and therefore alleges, that Hickman purposefully, intentionally, and with

                         18   malice used Yuga Labs’ trademarks to confuse and explicitly mislead users into purchasing

                         19   RR/BAYC NFTs.

                         20          44.     Hickman, together with Ripps, Cahen, Lehman, and others sold the fake BAYC

                         21   NFTs to more than 3,000 purchasers. On information and belief, he understood that the counterfeit

                         22   NFTs had caused substantial harm to Yuga Labs.

                         23          45.     On information and belief, Ripps agreed that Hickman would receive 15% of the

                         24   sales of RR/BAYC NFTs and a portion of the sales on Ape Market, all in exchange for his

                         25   contribution in developing the RR BAYC RSVP Contract, www.rrbayc.com, www.apemarket.com,

                         26   and marketing and promoting the same and the RR/BAYC NFTs.

                         27

                         28


                              COMPLAINT                                       16
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 17 of 21



                          1                                    FIRST CAUSE OF ACTION
                                                            FALSE DESIGNATION OF ORIGIN
                          2                                       (15 U.S.C. § 1125(A))
                          3          46.     Yuga Labs incorporates all paragraphs above by reference.
                          4           47.    Yuga Labs is the owner of common law rights in the BAYC Marks that precede
                          5   Hickman’s first use of these marks.
                          6           48.    Hickman has not obtained a license or permission from Yuga Labs to use the
                          7   BAYC Marks.
                          8           49.    Hickman’s unauthorized use of the BAYC Marks falsely suggests that he and the
                          9   products and services he promotes with the BAYC Marks are connected with, sponsored by,
                         10   affiliated with, or related to Yuga Labs.
                         11           50.    Hickman’s unauthorized use of the BAYC Marks, unauthorized promotion and sale
                         12   of the RR/BAYC NFTs, development and promotion of Ape Market, rrbayc.com, and the
F ENW ICK & W ES T LLP




                         13   RRBAYC RSVP contract, amongst any other product or service sold with the BAYC Marks, was
                         14   willful and intentional and constitutes (a) false designation of origin, (b) false or misleading
                         15   description, and (c) false or misleading representation that products originate from or are authorized
                         16   by Yuga Labs, all in violation of 15 U.S.C. § 1125(a)(1)(A).
                         17           51.    As a direct and proximate result of Hickman’s conduct, Yuga Labs has suffered
                         18   and will continue to suffer damages in an amount to be determined at trial.
                         19           52.    Yuga Labs has been, is now, and will be irreparably injured and damaged by
                         20   Hickman’s aforementioned acts, and unless enjoined by the Court, Yuga Labs will suffer further
                         21   harm to its name, reputation and goodwill. This harm constitutes an injury for which Yuga Labs
                         22   has no adequate remedy at law.
                         23                                    SECOND CAUSE OF ACTION
                         24                                          CYBERSQUATTING
                         25                                          (15 U.S.C. § 1125(D))
                         26          53.     Yuga Labs incorporates all paragraphs above by reference.
                         27          54.     On information and belief, Hickman manages, controls, and directs the promotion
                         28   and sale of the infringing and misleading RR/BAYC NFTs, and the intentional and bad faith use

                              COMPLAINT                                         17
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 18 of 21



                          1   of the infringing domains, including by supporting, aiding, and abetting the RR/BAYC Team.

                          2          55.       Yuga Labs is the owner of common law rights in BAYC and APE that precede

                          3   Hickman’s first use of these marks.

                          4          56.       Hickman has not obtained a license or permission from Yuga Labs to use the

                          5   BAYC and APE marks.

                          6          57.       Hickman used the domain names https://rrbayc.com/ and https://apemarket.com/

                          7   (“Domain Names”), which are confusingly similar to Yuga Labs’ BAYC and APE marks.

                          8          58.       Hickman used the Domain Names with a bad faith intent to profit from their

                          9   confusing similarity to Plaintiff's BAYC and APE marks. Among other things, upon information

                         10   and belief:

                         11                    (a)    Hickman used the Domain Names, despite knowing that he had no rights in

                         12                           the BAYC or APE marks.
F ENW ICK & W ES T LLP




                         13                    (b)    Hickman made no bona fide, non-infringing, commercial use or fair

                         14                           non-commercial use of the Domain Names.

                         15                    (c)    Hickman intended to divert consumers looking for Plaintiff’s goods/services

                         16                           online to the websites bearing the Domain Names by exploiting the

                         17                           confusing similarity of the Domain Names and the BAYC and APE marks

                         18                           for their commercial gain and to tarnish or disparage the BAYC and APE

                         19                           marks.

                         20                    (d)    Hickman used the Domain Names in bad faith as described herein.

                         21          59.       As a direct and proximate result of Hickman’s conduct, Yuga Labs has suffered and

                         22   will continue to suffer damages in an amount to be determined at trial.

                         23          60.       Hickman’s conduct is directly and proximately causing substantial, immediate, and

                         24   irreparable harm and injury to Yuga Labs, and to its goodwill and reputation, and will continue to

                         25   damage Yuga Labs unless enjoined by this court. Yuga Labs has no adequate remedy at law.

                         26          61.       Yuga Labs is entitled to injunctive relief pursuant to 15 U.S.C. §§ 1116 and

                         27   1125(d)(1)(C).

                         28


                              COMPLAINT                                         18
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 19 of 21



                          1                                        PRAYER FOR RELIEF
                          2          WHEREFORE, Yuga Labs prays for relief as follows:

                          3           1.     Entry of an order and judgment requiring that Hickman, and his agents,

                          4   employees, attorneys, or other persons who are in active concert or participation with Hickman,

                          5   his agents, or attorneys to be permanently enjoined and restrained from (a) using in any manner

                          6   the BAYC Marks, or any name, mark or domain name that wholly incorporates the BAYC Marks

                          7   or is confusingly similar to or a colorable imitation of these marks; and (b) doing any act or thing

                          8   calculated or likely to cause confusion or mistake in the minds of members of the public, or

                          9   prospective customers of Yuga Labs’ products or services, as to the source of the products or

                         10   services offered for sale, distributed, or sold, or likely to deceive members of the public, or

                         11   prospective customers, into believing that there is some connection between him and Yuga Labs;

                         12           2.     A judgment ordering Hickman, pursuant to 15 U.S.C. § 1116(a), to file with this
F ENW ICK & W ES T LLP




                         13   Court and serve upon Yuga Labs within thirty (30) days after entry of the injunction, a report in

                         14   writing under oath setting forth in detail the manner and form in which Hickman has complied

                         15   with the injunction and ceased all offering of products or services under the BAYC Marks as set

                         16   forth above;

                         17           3.     A judgment ordering Hickman, pursuant to 15 U.S.C. § 1118, to deliver up for

                         18   destruction, or to show proof of said destruction or sufficient modification to eliminate the

                         19   infringing matter, all articles, packages, wrappers, products, displays, labels, signs, vehicle

                         20   displays or signs, circulars, kits, packaging, letterhead, business cards, promotional items, clothing,

                         21   literature, sales aids, receptacles, servers, social media accounts, or other matter in the possession,

                         22   custody, or under the control of Hickman bearing the BAYC Marks in any manner, or any mark

                         23   that is confusingly similar to or a colorable imitation of this mark;

                         24           4.     A judgment ordering Hickman to withdraw any applications Hickman filed

                         25   anywhere for the BAYC Marks;

                         26           5.     A judgment in the amount of Hickman’s profits, Yuga Labs’ reasonable attorneys’

                         27   fees and costs of suit, and pre-judgment interest pursuant to 15 U.S.C. § 1117;

                         28           6.     A judgment for enhanced damages under 15 U.S.C. § 1117 as appropriate; and


                              COMPLAINT                                         19
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 20 of 21



                          1          7.      Any and all equitable relief that may be available to Yuga Labs, including without

                          2   limitation restitution, disgorgement, and the imposition of a constructive trust.

                          3          8.      A judgment granting Yuga Labs such other and further relief as the Court deems

                          4   just and proper.

                          5   Dated: January 20, 2023                       FENNEMORE CRAIG, P.C.

                          6
                                                                            By: /s/ John D. Tennert
                          7                                                     John D. Tennert, Esq.
                          8                                                     Attorneys for Plaintiff
                                                                                Yuga Labs, Inc.
                          9

                         10
                                                                       JURY DEMAND
                         11
                                     Plaintiff Yuga Labs, Inc. hereby requests a trial by jury.
                         12
F ENW ICK & W ES T LLP




                         13   Dated: January 20, 2023                       FENNEMORE CRAIG, P.C.
                         14
                                                                            By: /s/ John D. Tennert
                         15
                                                                                John D. Tennert, Esq.
                         16                                                     Attorneys for Plaintiff
                                                                                Yuga Labs, Inc.
                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24

                         25

                         26

                         27

                         28


                              COMPLAINT                                        20
                              Case 2:23-cv-00111-JCM-NJK Document 1 Filed 01/20/23 Page 21 of 21



                          1                                 INDEX OF EXHIBITS
                                Exhibit
                          2
                                 No.      Description
                          3       A       Examples of Use of BAYC Marks

                          4

                          5

                          6

                          7

                          8

                          9

                         10

                         11

                         12
F ENW ICK & W ES T LLP




                         13

                         14

                         15

                         16

                         17

                         18

                         19

                         20

                         21

                         22

                         23

                         24

                         25

                         26

                         27

                         28


                              COMPLAINT                              21
